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                   EXHIBIT 7
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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION


                                                          Civil Action
LESLIE-BURL McLEMORE;
CHARLES HOLMES;
JIMMIE ROBINSON, SR.; and                                 Case No. 3:19-cv-383-DPJ-FKB
RODERICK WOULLARD,

                       Plaintiffs,

       v.

DELBERT HOSEMANN, in his official capacity
as the Mississippi Secretary of State; and PHILIP
GUNN, in his official capacity as the Speaker of the
Mississippi House of Representatives,

                       Defendants.



                         DECLARATION OF JONATHAN RODDEN

       JONATHAN RODDEN, acting in accordance with 28 U.S.C. § 1746, Federal Rule of

Civil Procedure 26(a)(2)(B), and Federal Rules of Evidence 702 and 703, does hereby declare

and say:

I.     INTRODUCTION

       1.      Section 140 of the Mississippi Constitution states that in order to be declared the

winner, a candidate for governor must do two things. First, the candidate must win not just a

plurality, but a majority of the statewide popular vote. Second, the candidate must win a majority

of electoral votes, where one electoral vote is awarded to the candidate with the highest vote total

in a State House of Representatives district. Section 141 states that, in the event that no candidate

fulfills both of the requirements, the Mississippi House of Representatives shall choose the winner

among the two candidates who received the most popular votes. Section 143 extends these

provisions to all other statewide elected offices.

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       2.      I have been asked by the plaintiffs in this case to examine whether, relative to the

typical statewide plurality rule used for such offices in most other states, these unusual provisions

make it more difficult for African Americans to elect their preferred candidates in Mississippi

statewide elections.

       3.      To answer this question, it is necessary to derive answers to a series of subsidiary

questions. First, to what extent is voting in Mississippi racially polarized? That is, to what extent

do African Americans and whites typically prefer different candidates in statewide elections?

Second, how are African Americans distributed across Mississippi’s House Districts? Third, what

are the implications of this distribution for the ability of the candidates preferred by African

Americans to win a majority of electoral votes, and relatedly, a majority of the House of

Representatives if the election ends up determined there?

II.    SUMMARY OF CONCLUSIONS

       4.      My findings can be summarized as follows:

       5.      Voting in Mississippi has become extremely racially polarized in recent years. In

2008, around 90 percent of African Americans voted for Democratic candidates, and around 80 to

90 percent of whites voted for Republican candidates.

       6.      African Americans and whites are highly concentrated within the districts of the

Mississippi House of Representatives. There are 80 majority-white districts, the vast majority of

which are over 70 percent white. There are 42 black-majority districts, the vast majority of which

are over 60 percent black. There are very few heterogeneous districts.

       7.      The confluence of racially polarized voting and the geographic concentration of

white and African-American voters in certain Mississippi House districts means that it is more

difficult for candidates preferred by African Americans to win statewide elections. Even if



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African-American-preferred candidates win a narrow statewide majority, the distribution of racial

groups across House districts would likely prevent that candidate from winning a majority of

electoral votes.

       8.       In fact, analysis based on past patterns of racially polarized voting suggests that

black-preferred candidates would lose the electoral vote even with comfortable majorities of the

statewide vote, and would need more than 55 percent of the statewide vote in order to secure a

majority of electoral votes. Candidates preferred by whites, by contrast, would be able to win the

electoral vote without winning a majority of the popular vote.

       9.       This analysis is further supported by examinations of statewide elections in 2015.

The distribution of votes across districts is such that in competitive elections, even black-preferred

candidates with comfortable statewide majorities would be likely to lose the electoral vote. And

white-preferred candidates would be able to win the electoral vote with well less than half of the

popular vote.

       10.      Jim Hood’s 2015 election is especially instructive. In that election, Mr. Hood was

the only black-preferred statewide candidate to win a statewide election. He received 55.3 percent

of the statewide vote, yet he was able to win only a narrow majority of electoral votes. Moreover,

many of his electoral votes were won by very narrow margins in majority-white districts, such that

a swing against him of only two percentage points would have left him with a majority (53.3

percent) of the popular vote, but with only 47 percent of the electoral votes.

       11.      The requirement that a candidate receive a majority of the popular vote also reduces

the likelihood of African Americans electing candidates of choice. Recent campaign participation

by Reform Party and Libertarian candidates enhance the likelihood that neither of the major parties

wins a majority, thus raising the prospect that in the event of a closely contested statewide election,



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the House of Representatives would determine the winner.

        12.     A combination of racially polarized voting and political geography make it

exceptionally difficult to imagine a circumstance in which a black-preferred statewide candidate

would be selected by the Mississippi House of Representatives.

        13.     As a result, white-preferred candidates can be elected with a mere plurality of the

popular vote, and if small-party candidates are on the ballot, white-preferred candidates can be

elected even if the black-preferred candidate wins the largest share of the popular vote. In contrast,

in order to take office, black-preferred candidates must win an outsized statewide majority of the

popular vote.

III.    QUALIFICATIONS

        14.     I am currently a tenured Professor of Political Science at Stanford University and

the founder and director of the Stanford Spatial Social Science Lab (“the Lab”)—a center for

research and teaching with a focus on the analysis of geo-spatial data in the social sciences. In my

affiliation with the Lab, I am engaged in a variety of research projects involving large, fine-grained

geo-spatial data sets including ballots and election results at the level of polling places, individual

records of registered voters, census data, and survey responses. Prior to my employment at

Stanford, I was the Ford Professor of Political Science at the Massachusetts Institute of

Technology. I received my Ph.D. from Yale University and my B.A. from the University of

Michigan, Ann Arbor, both in political science. A copy of my current C.V. is included as Appendix

B.

        15.     In my current academic work, I conduct research on the relationship between the

patterns of political representation, geographic location of demographic and partisan groups, and

the drawing of electoral districts. I have published papers using statistical methods to assess



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political geography, voting, and representation in a variety of academic journals including

Proceedings of the National Academy of Science, American Economic Review Papers and

Proceedings, the Journal of Economic Perspectives, the Virginia Law Review, the American

Journal of Political Science, the British Journal of Political Science, the Annual Review of

Political Science, and the Journal of Politics. One of these papers was recently selected by the

American Political Science Association as the winner of the Michael Wallerstein Award for the

best paper on political economy published in the last year.

        16.    I have recently written a series of papers, along with my co-author, Jowei Chen,

using automated redistricting algorithms to assess partisan gerrymandering. This work has been

published in the Quarterly Journal of Political Science and Election Law Journal, and it has been

featured in more popular publications like the Wall Street Journal, the New York Times, and Boston

Review. I have recently completed a book, to be published by Basic Books in 2019, on the

relationship between political districts, the residential geography of social groups, and their

political representation in the United States and other countries that use winner-take-all electoral

districts.

        17.    I have expertise in the use of large data sets and geographic information systems

(GIS), and conduct research and teaching in the area of applied statistics related to elections. My

PhD students frequently take academic and private sector jobs as statisticians and data scientists.

I frequently work with geo-coded voter files and other large administrative data sets, including in

a recent paper published in the Annals of Internal Medicine. I have developed a national data set

of geo-coded precinct-level election results that has been used extensively in policy-oriented

research related to redistricting and representation, as well as with Census data from the United

States and other countries.



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       18.     I have been accepted and testified as an expert witness in five recent election law

cases: Romo v. Detzner, No. 2012-CA-000412 (Fla. Cir. Ct. 2012); Mo. State Conference of the

NAACP v. Ferguson-Florissant Sch. Dist., No. 4:2014-CV-02077 (E.D. Mo. 2014); Lee v. Va.

State Bd. of Elections, No. 3:15-CV-00357 (E.D. Va. 2015); Arizona Democratic Party, et al. v.

Michele Reagan, et al., No. 16-1065-PHX-DLR (D. Ariz. 2016); and Bethune-Hill v. Virginia

State Board of Elections, No. 3:14-cv-00852-REP-AWA-BMK (E.D. Va. 2014). In addition, I

recently submitted written testimony in League of Women Voters of Florida v. Detzner, No. 4:18-

cv-002510 (N.D. Fla. 2018) and College Democrats at the University of Michigan, et al. v. Johnson

et al., No. 3:2018-cv-12722 (E.D. Mich. 2018). I submitted an expert report and was deposed in

Nancy Corola Jacobson et al. v. Detzner, No. 1:18-cv-00095 (N.D. Fla. 2018). I also worked with

a coalition of academics to file an Amicus Brief in the Supreme Court in Gill v. Whitford, No. 16-

1161, and once again in Rucho v. Common Cause, 18-422. Much of the testimony in these cases

had to do with geography, voting, race and other demographic characteristics, districting, and

election administration. I am being compensated at the rate of $500/hour for my work in this case.

IV.    RACIALLY POLARIZED VOTING IN MISSISSIPPI

       19.     In order to assess the impact of electoral rules on the ability of African Americans

and whites to elect their preferred candidates, we must ascertain who those candidates are, and the

extent to which the preferences of the two groups diverge. In order to do this, I pursue three

strategies. I begin by examining the relationship between race and voting using county-level data.

Second, I use precinct-level data to conduct ecological inference that allows me to produce

estimates of the rates at which whites and African Americans voted for U.S. Senate and

presidential candidates in 2008. And third, I turn to the relationship between race and voting at

the level of geography that is crucial in determining the winners of statewide elections: Mississippi



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House of Representatives districts. All of these analyses demonstrate that black and white

Mississippians vote cohesively for different candidates.

       A. County-Level Analysis

       20.     County-level data are useful because unlike precincts or legislative districts,

counties are stable units of geography over time. By examining county-level data, we can gain an

understanding of the extent to which racially polarized voting, if it exists, might be changing over

time. The Mississippi Secretary of State has provided official county-level election results for all

statewide offices in the elections of 2003, 2007, 2011, and 2015. Mississippi is composed of a

mix of counties, like George, that are well over 75 percent white, counties like Jefferson, where

the population is beyond 75 percent African American, and counties like Pike, where the

population is evenly mixed between African Americans and whites. As a first cut, we can see

whether, for various statewide offices, there is a county-level correlation between race and voting

behavior.

       21.     Figure 1 is a simple scatterplot. It displays the African-American population share

of the voting-age population in each Mississippi county on the horizontal axis (taken from the most

recent census redistricting data from the 2013-2017 American Community Survey). On the vertical

axis, it displays the vote shares for statewide candidates for various contested offices in the 2015

general election (from the Mississippi Secretary of State). These candidates are Robert Gray in

the gubernatorial election, Tim Johnson in the Lieutenant Governor race, Charles Graham in the

race for Secretary of State, Jim Hood in the race for Attorney General, Jocelyn Pritchett in the race

for State Auditor, and Addie Lee Green in the race for Commissioner of Agriculture and

Commerce. (The election for Treasurer was uncontested). In each case, there is a clear and rather

strong correlation between the black share of the population and the vote share of the specific



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candidate. These county-level patterns make it quite clear that in the 2015 general election,

African Americans voted rather cohesively. Each of the candidates listed above received a clear

majority of the votes cast in the black-majority counties, and in the more homogeneous black

counties, the majorities for these candidates were quite large. For instance, even though he only

received 36 percent of the vote statewide, Charles Graham received over 60 percent of the vote in

the majority-black counties in the Secretary of State election. In the counties that are at least 75

percent African American, he received almost 77 percent of the vote. While Robert Gray received

only 32 percent of the gubernatorial vote statewide, he received over 68 percent of the vote in the

counties that were more than 75 percent black.

Figure 1: County-Level Scatterplot of Black Voting-Age Population Share and Vote Shares
  of Black-Preferred Candidates, Contested Races in 2015 Mississippi Statewide Election




       22.     Mississippi’s white voters were also very cohesive in the 2015 election, where with

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one possible exception, their candidates of choice were different in each election from the

candidates of choice of African-American voters. Figure 2 provides a similar plot, but in this

instance, the white voting-age population is on the horizontal axis, and the vote shares of the white-

preferred candidates are on the vertical axis. The white-preferred candidates were Phil Bryant in

the gubernatorial election, Tate Reeves in the Lieutenant Governor election, Delbert Hosemann in

the Secretary of State election, Stacey Pickering in the Auditor election, and Cindy Hyde-Smith in

the Commissioner of Agriculture and Commerce election.

Figure 2: County-Level Scatterplot of White Voting-Age Population Share and Vote Shares
  of White-Preferred Candidates, Contested Races in 2015 Mississippi Statewide Election




       23.     While receiving around 61 percent of the statewide vote, Mr. Hosemann received

around 71 percent of the vote in the majority-white counties, and 80 percent of the vote in the


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counties where whites made up more than 75 percent of the voting-age population. While

receiving around 66 percent of the statewide vote, Phil Bryant received around 74 percent of the

vote in majority-white counties, and around 84 percent of the vote in counties that were over 75

percent white.

        24.      While the African-American candidate of choice is rather obvious in all of the 2015

statewide races, this is true for whites in five of the six contested elections. As one can appreciate

by looking at the green dots in Figures 1 and 2, the distribution of votes across counties was quite

distinctive in the Attorney General race. While Jim Hood won a large majority of votes in black-

majority counties, Mike Hurst won only a very small majority of the votes cast in white counties—

51 percent—and he won around 56 percent of the votes cast in counties that were over 75 percent

white. In other words, the county-level data suggest that Hood was the black-preferred candidate

in 2015, whereas whites were more evenly split between Hood and Hurst.

        25.      Leaving aside elections that were not fully contested,1 let us now use the county-

level data to examine whether the pattern of racially polarized voting explored in Figures 1 and 2

has been present in past elections as well. County-level data for statewide elections are available

from the Secretary of State since 2003.

        26.      Figure 3 provides similar scatterplots for the races that were contested in 2003. The

black-majority counties’ candidates of choice in this case were Musgrove in the gubernatorial race,

Blackmon in the race for Lieutenant Governor, and Anderson in the Treasurer election. The white-

majority counties preferred Barbour (Governor), Tuck (Lieutenant Governor), and Reeves

(Treasurer). The correlation between race and voting was relatively strong in each of these



1
 Specifically, I leave out races in which the second-place candidate failed to obtain 15 percent of the statewide
votes. In most of the dropped elections, the race was truly uncontested in that there was no second-place candidate
at all.

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elections, and it is clear that black-majority counties and white-majority counties provided

majorities for different candidates.


Figure 3a: County-Level Scatterplot of Black Population Share and Vote Shares of Black-
     Preferred Candidates, Contested Races in 2003 Mississippi Statewide Election




                                 [Space intentionally left blank.]




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Figure 3b: County-Level Scatterplot of White Population Share and Vote Shares of White-
      Preferred Candidates, Contested Races in 2003 Mississippi Statewide Election




        27.      However, voting was less polarized in the race for Attorney General, where black-

and white-majority counties provided majorities for the same candidate, Mr. Hood.2

        28.      Next, Figure 4 provided a similar graph for 2007, when the preferred candidates in

black-majority counties were Eaves for Governor, Franks for Lieutenant Governor, O’Hara for

Treasurer, Smith for Secretary of State, Hood for Attorney General, Sumrall for Auditor, Anderson

for Insurance Commissioner, and Cole for Commissioner of Agriculture and Commerce. The

preferred candidates for white-majority counties were Barbour (Governor), Bryant (Lieutenant

Governor), Reeves (Treasurer), Hosemann (Secretary of State), Hopkins (Attorney General),

Pickering (Auditor), Chaney (Insurance), and Spell (Agriculture and Commerce). In all of these



2
  Likewise, voting was of course less racially polarized in the additional statewide races where incumbents ran
without serious opposition. These include the election for Auditor, where Phil Bryant received 98 percent of the
statewide vote, Secretary of State, where Eric Clark received 96 percent of the vote, Secretary of Agriculture and
Commerce, where Lester Spell received 86 percent of the vote, and Commissioner of Insurance, where George Dale
received 93 percent of the vote.

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statewide elections in 2007, the correlation between race and voting was quite strong, and again

with the exception of the Attorney General race, it was clearly the case that majorities in black and

white counties were choosing different candidates.



Figure 4a: County-Level Scatterplot of Black Population Share and Vote Shares of Black-
     Preferred Candidates, Contested Races in 2007 Mississippi Statewide Election




                                 [Space intentionally left blank.]




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Figure 4b: County-Level Scatterplot of White Population Share and Vote Shares of White-
      Preferred Candidates, Contested Races in 2007 Mississippi Statewide Election




       29.     Next, let us examine the 2011 election, which is displayed in Figure 5. In this

election, the candidates with clear majorities in majority-African-American counties were DuPree

for Governor, Moran for Treasurer, Hood for Attorney General, Fondren for Insurance

Commissioner, and Gill for Commissioner of Agriculture and Commerce. For white-majority

counties, the preferred candidates were Bryant (Governor), Fitch (Treasurer), Simpson (Attorney

General), Chaney (Insurance), and Hyde-Smith (Agriculture and Commerce). As in 2003, 2007,

and 2015, the correlation between race and voting was quite strong in each 2011 election, and once

again, only in the Attorney General election did African-American- and white-majority counties

prefer the same candidate.




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Figure 5a: County-Level Scatterplot of Black Population Share and Vote Shares of Black-
     Preferred Candidates, Contested Races in 2011 Mississippi Statewide Election




Figure 5b: County-Level Scatterplot of White Population Share and Vote Shares of White-
      Preferred Candidates, Contested Races in 2011 Mississippi Statewide Election




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       30.     It can be difficult to discern trends over time looking across these different plots.

A simple way to summarize the information displayed in Figures 1 through 5 is to estimate a

simple linear regression model for each election, where the dependent variable is the vote share of

the black-preferred candidate, and the independent variable is the share of the county population

that is African American, and the countries are weighted by the size of their population. The

coefficient from these models can be understood as the slope of the lines formed by the colored

dots in the plots above. For instance, the regression coefficient for the Secretary of State race was

.75 in 2015, indicating that a 10 percentage-point increase in the black population share is

associated with a 7.5 percentage-point increase in the vote share of Mr. Graham.

       31.     We can then examine these coefficients, along with 95 percent confidence intervals,

for each contested statewide race since 2003. Figure 6 displays the regression coefficients, where

each statewide office is represented by a different color, and the confidence intervals are

represented by capped bars.

       32.     For each year, all of the coefficients are positive and statistically significant for

each office. This means that there is a clear county-level relationship between race and voting in

statewide races. But note that the relationship has strengthened substantially over time. Racial

polarization of county-level voting has expanded, especially between the 2007 and 2011 elections.

       33.     Looking at the red data markers in Figure 6, we can see that the county-level

relationship between race and voting behavior in gubernatorial elections increased dramatically in

2011. Likewise, the correlation between race and voting has increased steadily in elections for

attorney general, secretary of state, auditor, insurance commissioner, and commissioner of

agriculture. In the most recent 2015 election, the correlation between race and voting was

extremely high in all of the races. The coefficient is now above .7 in all races except for Attorney



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General. But even in the Attorney General races, in which Jim Hood has been victorious in every

election depicted in Figure 6, the county-level correlation between race and his vote share has

increased substantially.



 Figure 6: Coefficients and Confidence Intervals: Race and Statewide Voting, Mississippi
                                  Counties, 2003-2015




       B. Ecological Inference Using Precinct-Level Data

       34.     The county-level analysis above is useful for the establishment of trends over time.

The strength of the county-level relationship between race and voting indicates that African

Americans and whites almost always prefer different candidates in statewide elections, and this

racial polarization is growing over time. But in order to gain a more precise estimate of the rates

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at which racial groups vote for their preferred candidates, it is useful to examine data below the

level of counties. In cases where federal courts require assessments of voting behavior by racial

group, they have come to rely on ecological inference analysis. This procedure utilizes precinct-

level information about election results and race to draw deterministic bounds around the plausible

range of values of votes cast by African Americans and whites for each candidate in each precinct.

That is, we can rule out certain levels of white and African-American vote shares that are

impossible given what we know about the numbers in each racial group and the number of ballots

cast for the various candidates. Then, a statistical model is used to bring together information from

the entire distribution of districts and home in further on the most likely location of these quantities

of interest within their deterministic bounds in each precinct. These precinct-level estimates can

then be aggregated into a summary estimate of voting by race for the entire state.

       35.     In collaboration with Stephen Ansolabehere at Harvard University, I have collected

precinct-level election results for all U.S. states in 2008, and linked the precinct-level results to

digitized precinct boundaries. The data have been archived at the Harvard Election Data Archive,

and can be visualized via the Stanford Election Atlas. The Mississippi election data were compiled

from the publications of the Mississippi Secretary of State. I have also obtained information about

the racial composition of each precinct from the Mississippi Automated Resource Information

System (MARIS).

       36.     After merging these two files together, I was able to conduct ecological inference

analysis for each of the 2008 statewide races in Mississippi for which I had data: the U.S. Senate

race between Thad Cochran and Erik Fleming, the Special U.S. Senate contest between Roger

Wicker and Ronnie Musgrove, and the presidential contest between John McCain and Barack

Obama. The results of the analysis are presented in Table 1 below, which provides estimated vote



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shares, along with 95 percent confidence intervals, for each candidate among each racial group.

       37.    The analysis indicates that in each case, African Americans overwhelmingly

supported one candidate. The estimate was around 90 percent for both Fleming, an African-

American candidate, and Musgrove, a white candidate. Estimated African-American support for

Barack Obama in the presidential race was even higher (over 95 percent).

       38.    Likewise, whites overwhelmingly supported the same candidates (each of whom

were different than the African-American-preferred candidate), although their support was more

variable across contests. The estimated vote share among whites for Cochrane was 90 percent, 81

percent for Wicker, and 88 percent for John McCain.



    Table 1: Estimated Vote Shares of Candidates by Race, Ecological Inference Analysis,
                                     2008 Election

                                      Whites                          African Americans
                                        Lower        Upper                    Lower      Upper
                         Estimate        CI           CI       Estimate        CI         CI
 U.S. Senate
 Cochrane (Rep)             0.907        0.905        0.910       0.097        0.094      0.100
 Fleming (Dem)              0.093        0.090        0.095       0.903        0.900      0.906

 U.S. Senate
 Special
 Wicker (Rep)               0.814        0.812        0.817       0.091        0.087      0.094
 Musgrove (Dem)             0.186        0.183        0.188       0.909        0.906      0.913

 U.S. President
 McCain (Rep)               0.881        0.869        0.885       0.044        0.037      0.061
 Obama (Dem)                0.119        0.115        0.131       0.956        0.939      0.941




       C. Mississippi State House Districts

       39.    County-level and precinct-level analysis are useful, but under the Mississippi


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Constitution, the crucial geographic units for determining winners of statewide elections are the

Mississippi State House districts. Let us now examine the relationship between race and voting

across these districts as well.

        40.     To produce Figure 7, I have summed up precinct-level results for each of the three

races discussed in the precinct-level analysis above to the level of the Mississippi State House

districts that were in place at the time, and I have done the same with population counts by race.

The horizontal axis in Figure 7a indicates the share of blacks in the voting-age population (BVAP),

and the vertical axis indicates the vote share of the black-preferred candidate in each of the three

races mentioned above. Figure 7b does the same for whites, with the y-axis being the white-

preferred candidates in each election, all of whom were different from the black-preferred

candidates.

                  Figure 7a: BVAP and Votes for Black-Preferred Candidates, 2008,

                                  Mississippi State House Districts




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          Figure 7b: White VAP and Votes for White-Preferred Candidates, 2008,
                            Mississippi State House Districts




       41.     Figure 7 makes it clear that as with the counties, the vote shares of the black-

preferred candidates are essentially linear functions of the size of the black voting-age population

in the Mississippi House district. The regression coefficient in the presidential election, for

example, is over .91.



             Figure 8a: BVAP and Votes for Black-Preferred Candidates, 2015,
                            Mississippi State House Districts




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          Figure 8b: White VAP and Votes for White-Preferred Candidates, 2015,
                            Mississippi State House Districts




       42.     While I do not have access to precinct-level data for more recent elections, I do

have access to both election results and census-based race estimates at the level of Mississippi

House Districts for 2015. The former data were obtained from a publication of the Mississippi

Secretary of State, and the latter from MARIS. Figure 8 provides similar plots for 2015, with

separate data markers for the various statewide offices contested that year. As in 2008, the vote

shares of black-preferred candidates are very close to a simple linear function of the black voting-

age population share, indicating that, as we saw above in the county-level analysis, voting is very

racially polarized in elections for statewide office.      In elections for Governor, Lieutenant

Governor, Auditor, Secretary of State, and Commissioner of Agriculture and Commerce, the vote

shares of black-preferred candidates track BVAP very closely, which reflects the fact that African

Americans vote overwhelmingly for the same set of candidates, and whites vote overwhelmingly

for a different set of candidates. For these offices, the regression coefficients are in the range of

.8 to .85. Black-majority districts (in the upper right-hand corner of Figure 8a and lower-left corner

of Figure 8b) almost always provide majorities for their preferred candidates, and in white-

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majority districts (the lower left-hand corner of Figure 8a and upper-right corner of Figure 8b),

black-preferred candidates almost always received less than 40 percent of the vote.

       43.     Because voting is typically quite polarized by race in Mississippi, just one black-

preferred statewide candidate has been elected in the last decade: Attorney General Jim Hood.

The green data markers in Figure 8 demonstrate that, while his support was still strongly correlated

with district-level race, as in other statewide contests, Jim Hood’s support in the Attorney General

election from white voters was substantially higher than that of the other black-preferred

candidates. He outperformed those candidates by a rather similar margin throughout most of the

state, and by a somewhat larger margin in a handful of districts near his home base in Northeast

Mississippi. In fact, there are several green dots in the upper left-hand quadrant of Figure 8a (also

the lower right-hand quadrant of Figure 8b). Those dots represent white-majority districts in

Northeast Mississippi where Mr. Hood won very narrow majorities. Without winning those

districts, Mr. Hood could not have won a majority of electoral votes.

       44.     The crucial question motivating this report is whether Mississippi’s unusual

electoral system for statewide offices makes it more difficult for African Americans to elect their

preferred candidates than for whites. An important part of the answer can be anticipated by

examining Figures 7 and 8. Note the relatively small number of dots in the center of each graph,

especially Figure 8. In the current redistricting plan, there are only two districts with BVAP

between 35 and 55 percent. District 33 has a BVAP of 41 percent, and District 91 has a BVAP of

53 percent, but otherwise, the middle of the distribution is empty.

       45.     The “missing middle” in the distribution of African Americans across Mississippi

House districts has important implications for representation. Even when a black-preferred

candidate wins every single one of the 42 black-majority districts, he or she would need to win an



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additional 20 white-majority districts to attain a majority of electoral votes. But of these 80 white-

majority districts, all but one are more than 65 percent white. In the presence of pronounced

racially-polarized voting, the task of winning 20 overwhelmingly white districts is quite a heavy

lift for the black-preferred candidate. This claim will be scrutinized in much further detail below,

but first, it is necessary to shed further light on the geography of racial polarization in the districts

for the Mississippi House of Representatives.

V.      THE DISTRIBUTION OF AFRICAN AMERICANS ACROSS MISSISSIPPI
        HOUSE DISTRICTS

        46.      In order to understand why racially polarized voting is important for representation,

we must understand the distribution of racial groups across Mississippi’s House districts. Figure

9 uses data at the level of census block groups to capture the distribution of African Americans

and whites in Mississippi. Each white dot represents 100 voting-age whites, and each black dot

represents 100 voting-age African Americans.

              47. Most of Mississippi’s cities contain both black and white neighborhoods.

Rural Mississippi is quite heterogeneous, but African Americans are more numerous in the delta

region to the West, and whites more numerous in rural areas on the East side of the state.

        48.      Figure 10 is a map of voting-age population by race at the level of Mississippi

House Districts. The shades of gray get darker as BVAP grows. It shows that the superimposition

of State House districts on Mississippi’s racial geography yields a set of districts with extremely

large black majorities, as well as neighboring districts with very large white majorities. In Figure

10, there are very few districts with medium shades of gray.




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Figure 9: The Geographic Distribution of Mississippi Voting Age Population by Race




                                                                 Tupelo




                                 Greenwood         Starkville

                 Greenville




                                   Jackson
                                                           Meridian




                                                 Hattiesburg




         Legend
         Voting-Age Population
              1 Dot = 100

              Black
              White                                   Gulfport




                                       25
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      Figure 10: BVAP, Current Mississippi House of Representatives Districts
    Legend
    BVAP
        0.02 - 0.10
        0.11 - 0.20
        0.21 - 0.30
        0.31 - 0.40                                               Tupelo
        0.41 - 0.50
        0.51 - 0.60
        0.61 - 0.70
        0.71 - 0.80
        0.81 - 0.90
                                   Greenwood            Starkville

                      Greenville




                                    Jackson
                                                           Meridian




                                                  Hattiesburg




                                                       Gulfport




                                     26
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       49.     Another way to visualize the distribution of racial groups across districts is to

examine histograms. In Figure 11, I present histograms of BVAP across districts not only for the

current redistricting plan, but also the one in place during the 2000s. Figure 11 illustrates the

extent to which the middle of the distribution contains very few districts in both districting plans—

especially the most recent. In the current plan there is a clump of 80 white districts—the vast

majority over 70 percent white—on the left side of the graph, and a clump of 42 majority-black

districts on the right side of the graph. Districts with a relatively even balance of whites and African

Americans are very few in number.


        Figure 11: Histograms of BVAP, Mississippi House Districts, Previous and Current
                                   Districting Plans




       50.     It is not the intention of this report to assess whether this pattern resulted from

geography, racial gerrymandering, an effort to gain partisan advantage, or some combination of

these. Rather, this report explores the implications of this pattern of racial geography, combined

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with the patterns of racially polarized voting established above, for the ability of African

Americans to elect candidates of choice to statewide office in light of Mississippi’s rather unusual

rules for selecting statewide officials.

VI.     IMPLICATIONS FOR STATEWIDE ELECTIONS

        51.     Now that we have quantified the extent of racially polarized voting and the

geographic distribution of racial groups across districts, we are ready to combine that information

to explore the implications for Mississippi’s system for electing statewide officeholders. First, it

is worth noting that the Mississippi Constitution’s district-based electoral vote provision makes

little difference in non-competitive elections. A candidate with 60 percent of the popular vote is

likely to win a majority of electoral votes no matter how they are distributed across districts.

However, the popular vote and the electoral vote can be at odds when elections are relatively close.

The crucial question in Mississippi is whether, in the event of a relatively close election when the

candidate preferred by African Americans wins the most popular votes, that candidate can also

win the electoral vote. And how would that scenario contrast with a situation where the tables are

turned, and the candidate preferred by whites was able to win the most popular votes in a close

election?

        52.     There are two good ways to approach this question. First, we can simply take what

we know about racially polarized voting and the distribution of groups across districts, and

examine what would happen in some statewide scenarios with close elections. Second, we can

examine actual 2015 district-level election results and explore hypothetical scenarios in which

elections are close.

        A. Racially Polarized Voting and Electoral Votes

        53.     The first approach is straightforward. Based on the ecological inference analysis



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above, let us begin by assuming the level of racially polarized voting that has become typical in a

Mississippi statewide election, where 90 percent of African Americans vote for the black-preferred

candidate, as do somewhere between 10 and 20 percent of whites. Given that 35 percent of the

voting-age population is African American and 65 percent is white, either scenario would yield a

victory for the white-preferred candidate. If white support for the black-preferred candidate was

10 percent, the white-preferred candidate would win 62 percent of the statewide vote. If it was 20

percent, that vote share would fall to 55.5 percent. We can simply apply the same approach to

each individual Mississippi House district and examine how many electoral votes the candidates

would receive in each district.

       54.     As one would anticipate, in either of these scenarios above—in which white support

for the black-preferred candidate was 10 or 20 percent—the black-preferred candidate would win

only the 42 majority-black districts, and the white-preferred candidate would win the remaining

80 majority-white districts. In other words, 55.5 percent of the popular vote for the white candidate

would translate into 66 percent (80 out of 122) of the electoral votes.

       55.     Next, let us consider scenarios where statewide elections are more competitive. In

Mississippi, this would mean African Americans continue to support their preferred candidate at

the typical rate of 90 percent, but white support for that candidate begins to tick up. If 22 percent

of whites support the black-preferred candidate, he or she would have 46 percent of the statewide

vote. If 26 percent of whites support the candidate, the statewide vote share would move up to 48

percent. If 29 percent of whites support a black-preferred candidate, a very slim popular majority

emerges for the black-preferred candidate. And if 35 percent of whites support a black-preferred

candidate, the candidate would receive a comfortable 54 percent of the popular vote.

       56.     But even with these auspicious statewide scenarios, in which a significant portion



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of white voters support the candidate preferred by African Americans, the electoral vote presents

a serious obstacle for that candidate. With 48 percent of the popular vote, the black-preferred

candidate would still be stuck with only 43 electoral votes (35 percent). Just barely winning the

popular vote would also not help much: if the black-preferred candidate obtained a popular-vote

share just over 50 percent, she would win just one additional electoral vote. Even with a

commanding 54 percent of the popular vote, the black-preferred candidate would only receive 58

electoral votes—four electoral votes short of the required 62 for victory. Only by winning 55.5

percent of the popular vote can the black-preferred candidate finally win the requisite 62 electoral

votes.

         57.   Recall from above that there is only a single district with BVAP between 35 percent

and 50 percent. Thus, beyond the 42 majority-black districts, there are very few districts that are

within striking distance for a black-preferred statewide candidate to pick up. Even when racially

polarized voting is less pronounced, and a black-preferred candidate gains considerable support

among whites and wins a solid statewide majority, the lack of heterogeneous districts means that

such a candidate can only win a majority of electoral votes if he or she wins a large number of

overwhelmingly white districts.

         58.   The calculations described above lead to a relationship between statewide vote

shares and electoral vote shares that is depicted in Figure 12. The horizontal axis represents the

vote share of black-preferred candidates, and the vertical axis represents the corresponding share

of electoral votes. On the far-left side of the graph is a typical scenario in which African Americans

vote for the black-preferred candidate at a rate of 90 percent, and whites for the white-preferred

candidate at a rate of 90 percent. This gives the black-preferred candidate 38 percent of the vote,

and 42 of 122 electoral votes (34 percent).



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             Figure 12: The Popular Vote and Electoral Vote Shares in Mississippi




       59.      As we move to the right on the graph, racially polarized voting becomes less

pronounced, and the vote share for the black-preferred candidate among whites begins to increase,

which means that the black-preferred candidate’s overall popular-vote share increases. But as the

vote share increases, there is no corresponding increase in the electoral-vote share for the black-

preferred candidate. This is because of the “missing middle” described above: there are no districts

with small white majorities that might flip as larger shares of whites vote for the black-preferred

candidate. The share of electoral votes received by the black-preferred candidate does not begin

to increase until that candidate receives a majority of the statewide vote, and even then, the increase

is slow. The black-preferred candidate must win over 55.5 percent of the vote in order to win a

majority of electoral votes. Conversely, the graph reveals that a white-preferred candidate can win

a majority of electoral votes even when he or she loses the popular vote. In other words, the system

of electoral votes places black-preferred candidates at a very substantial disadvantage.

       B. The Distribution of Votes in Observed Elections

       60.      Based purely on analysis of observed patterns of racially polarized voting and the

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distribution of racial groups across districts, we can conclude that black-preferred candidates

would find it very difficult to win a majority of electoral votes in the event of a close statewide

election. But let us now see if this conclusion holds if we examine the distribution of actual votes

for statewide candidates across Mississippi’s House of Representatives districts in the most recent

statewide election.

          61.    Unfortunately, none of the statewide races in 2015 were especially competitive.

Phil Bryant received 66 percent of the vote in the gubernatorial election. Tate Reeves received 60

percent of the vote in the Lieutenant Governor election. Delbert Hosemann received 61 percent

of the vote in the Secretary of State election. Stacey Pickering received 64 percent of the vote in

the election for State Auditor. Cindy Hyde-Smith received 61 percent of the vote in the race for

the Commissioner of Agriculture and Commerce. The Republican candidate for Treasurer was not

opposed by a major-party candidate, and the Republican candidate for Commissioner of Insurance

was not opposed by any candidate at all. Only one statewide office was won by a black-preferred

candidate, but that election was also not especially close: Jim Hood was elected Attorney General

with 55.3 percent of the vote.

          62.    Given the very large majorities won by the white-preferred candidates in all of the

elections other than Attorney General, it is not surprising that they also received very comfortable

majorities of electoral votes as well. As could be ascertained from Figure 8 above, white-preferred

candidates won every electoral vote in all 80 of the majority-white districts in each of these

elections. And with one exception, black-preferred candidates won all of the electoral votes in the

majority-black districts in all of the contested statewide races.3



3
    Phil Bryant won narrow victories in five of the majority-black districts.



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       63.     But the distribution of votes across districts in these non-competitive elections still

provides us with valuable information about how things would turn out in the event of a tighter

race. We can simply add a percentage point to the vote shares of black-preferred candidates in

each district, and see how many electoral votes the two candidates would receive in that scenario.

We can then add two percentage points, and so forth, until we reach an overall statewide electoral-

vote majority for the black-preferred candidate. Given the observed distribution of support across

districts, in this way we can calculate shares of electoral votes that would obtain under various

hypothetical statewide vote shares.

       64.     Figure 13 conducts this exercise for the 2015 gubernatorial election. It simply plots

the electoral vote share that would have been obtained under various alternative scenarios. The

actual election outcome is marked with a larger open circle, and the hypothetical elections with

alternative vote shares of the black-preferred candidate are marked with red dots.

       65.     Note that the shape of the graph looks strikingly similar to Figure 12 above.

Starting at the bottom left with the open circle, we see that in the observed election, the black-

preferred candidate received around 32 percent of the vote, and 30 percent of the electoral votes.

But as we move to the right on the graph and start considering more successful black-preferred

candidates, their share of electoral votes stays remarkably flat. Even if a black-preferred candidate

wins a slim majority of the popular vote, it would translate into only 38 percent of the electoral

votes. And based on the observed distribution of gubernatorial votes in 2015, even a popular-vote

share of 57 percent would not be enough to reach the all-important threshold of 62 electoral votes.

The popular-vote share of the black-preferred candidate would need to surpass 58 percent.




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      Figure 13: The Popular Vote and Electoral Vote Shares in the 2015 Mississippi
                                Gubernatorial Election




       66.     Next, let us turn our attention to the lone black-preferred candidate who was able

to win a majority of statewide votes in 2015: incumbent Jim Hood in the race for Attorney General.

Recall from above that Mr. Hood outperformed other black-preferred candidates throughout the

state. He did so especially in a number of majority-white districts in Northeast Mississippi. But

even with 55.3 percent of the popular vote, Mr. Hood was able to win only 66 electoral votes (54

percent). Note that in the gubernatorial analysis above, the white-preferred candidate, Phil Bryant,

could expect 79 or 80 electoral votes (around 65 percent) with the same share of the popular vote.

Several of the districts in which Mr. Hood achieved an electoral vote were won by very narrow

margins, and had he won just four fewer districts, section 141 of the Mississippi Constitution

would have been triggered, and the Attorney General would have been selected by the House of

Representatives rather than the voters.




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    Figure 14: The Popular Vote and Electoral Vote Shares in the 2015 Mississippi Attorney
                                      General Election




         67.    In other words, Mr. Hood needed almost 55 percent of the popular vote to win the

narrowest possible majority of electoral votes. Following the same logic as Figure 13, Figure 14

considers what would happen if Mr. Hood’s support shifted down by one percentage point, two

percentage points, and so forth. It shows that with 54.3 percent of the popular vote, he could have

won 64 electoral votes (52 percent), but with any smaller share of the popular vote, he would have

lost his electoral-vote majority. With 53.3 percent of the popular vote, Mr. Hood would have

received only 57 electoral votes (47 percent).

         68.    It is worth noting that Mr. Hood is running for governor, and polls indicate that the

election is likely to be quite close.4 Based on this analysis of 2015 elections, Mr. Hood would

need to win a rather large statewide majority in order to win the electoral vote.

         69.    There was nothing exceptional about the 2015 gubernatorial or Attorney General

elections. If we extend the analysis to the elections for Lieutenant Governor, Secretary of State,



4
  Reid Wilson, Poll Finds Dead Heat in Mississippi Governor’s Race, THE HILL (Feb. 6, 2019),
https://thehill.com/homenews/campaign/428718-poll-finds-dead-heat-in-mississippi-governors-
race.
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Auditor, or Commissioner of Agriculture, we see the same thing: if the black-preferred candidate

won 50 percent of the popular vote, he or she would win only 46 or 47 electoral votes—far short

of the 62 needed for victory.

VII.    THE MISSISSIPPI HOUSE OF REPRESENTATIVES

        70.    In short, due to patterns of racially polarized voting and the distribution of racial

groups across Mississippi House districts, even a black-preferred candidate that manages to attract

votes from a sizable share of the white population, thereby winning a majority of the statewide

popular vote, would find it difficult to win a majority of electoral votes. When he or she fails to

do so, the winner would be selected by the Mississippi House of Representatives. But when the

choice is placed with the Mississippi House of Representatives, the same pattern of racially

polarized voting and the same geographic distribution of racial groups would also very likely then

undermine the prospects of the black-preferred candidate.

        71.    It is possible, however, that members of the Mississippi House of Representatives

could in some way be immune to the trend toward racially polarized voting demonstrated above

for federal and statewide offices. One might surmise that elections for the Mississippi House of

Representatives are more personalized and, thus, to a certain extent, detached from broader

statewide patterns of racially polarized voting. If that is the case, it is possible that even while

black-preferred candidates fail to win a majority of House districts in statewide races, they might

have better success in individual House elections. One might imagine a situation, for example, in

which all 42 majority-black districts elect black-preferred candidates, and in which perhaps in 20

of the 80 districts with overwhelming white majorities, a sufficiently large number of whites might

coalesce with local black voters to elect black-preferred candidates. In that scenario, a majority of

House members might favor a black-preferred statewide candidate.



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        72.     Election-results data, however, suggest that this scenario is unlikely to occur.

District-level election results are not quite as meaningful in state legislative races as in statewide

races, since the quality of candidates varies widely across districts, and since a large number of

races are uncontested. In the most recent election, for instance, 81 seats were uncontested (67%).

Keeping this in mind, we can once again examine a plot of the district-level election results against

district-level racial data.

        73.     Figure 15 plots the black share of voting-age population on the horizontal axis, and

the vote share of each Democratic candidate in the 2015 Mississippi House of Representatives

elections on the vertical axis. We can see that only five of the 42 majority-black districts were

actually contested, and 36 of the 80 majority-white districts were contested.             Democrats

represented all of the majority-black districts but one. And the vast majority of white-majority

districts are represented by Republican candidates. There are only six observations in the upper

left-hand quadrant of Figure 15, meaning that there are just six majority-white districts where

Democratic candidates—usually long-serving incumbents—emerged victorious.

        74.     The important question for this analysis is whether it is likely that, in the event of

a statewide swing toward the Democratic Party, a sufficient number of dots in the lower-left

quadrant might migrate up to the upper-left quadrant and create a legislative majority under the

Democratic Party label that might appoint a black-preferred candidate to statewide office under

section 141 of the Mississippi Constitution. These data show that it would be extremely unlikely.




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       Figure 15: BVAP and Democratic Vote Share, 2015 Mississippi State House of
                              Representatives Election




       75.     If each of the contested districts swung by a truly remarkable 10 percentage points

in favor of the Democrats, they would still have won just 56 of 122 seats. A 15-point swing would

yield only 59 seats. The Democrats would need to benefit from an extraordinary 18-point swing

in order to win 62 seats in the House. In other words, a Democratic majority that might choose a

black-preferred statewide candidate in the Mississippi House of Representatives would require a

truly remarkable electoral earthquake.

       76.     In sum, even if a black-preferred candidate won the most votes in a statewide

election but did not garner a majority of electoral votes, it is extremely unlikely that the

membership of the Mississippi House of Representatives would select as the winner the black-

preferred candidate.




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VIII. THE STATEWIDE MAJORITY REQUIREMENT

       77.     As noted above, beyond imposing a unique electoral-vote system, the Mississippi

Constitution also removes the selection process from the voters and sends it to the House if no

candidate wins a majority of the popular vote. This provision also makes it harder for African-

Americans voters to elect their preferred candidates when compared to white voters. Because of

the substantial advantage white voters have in the House, any provision that makes it more likely

that Section 141 will be triggered—thereby sending the election to the House—reduces the

probability that a black-preferred statewide candidate takes office.

       78.     All of the analysis presented above proves that African Americans are extremely

cohesive in their voting for statewide candidates, even more so than whites are in their voting.

       79.     Cohesive minorities often benefit from fragmentation among the majority. For

instance, imagine a community where the white majority is 60 percent of the voting population,

the black minority is 40 percent, and the school board is composed exclusively of white-preferred

candidates. Imagine there is a single winner-take-all seat up for a school board election, and there

are three candidates. If black voters are perfectly cohesive in their support for one of the

candidates, but whites split their votes evenly among the other two candidates, the black-preferred

candidate would win with 40 percent of the vote, while the white-preferred candidates each

received 30 percent. However, if the school board instituted a rule that allowed the sitting school

board members to appoint new members in the absence of a candidate with a majority of votes,

the cohesive minority would be deprived of this path to victory. It is clear that in communities

where minority voters are more cohesive than white voters, a majority requirement would make it

much harder for minorities to capitalize on less cohesive behavior among whites and elect

candidates of choice.



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       80.     Party fractionalization in Mississippi statewide elections is not just a hypothetical

scenario. Both the Reform Party and the Libertarian Party regularly run candidates in statewide

races, and the Constitution Party has done so in the recent past. In 2011, Reform candidates

received 3 percent of the statewide vote in the races for Treasurer, 3.4 percent in the race for

Commissioner of Insurance, 2.5 percent in the race for Commissioner of Agriculture. In 2015, the

Reform candidate received 1.4 percent in the gubernatorial election, 3 percent in the Secretary of

State election, 1.3 percent in the Auditor election, and 2.1 percent in the Commissioner of

Agriculture and Commerce election. In the 2015 race for Lieutenant Governor, the combined vote

share of the Libertarian and Reform candidates was 3.6 percent. In 2007, the candidate for the

Constitution Party received 6.6 percent of the vote in the race for Commissioner of Agriculture

and Commerce. In 2003, there were five parties competing in the gubernatorial election, and the

Reform Party candidate received 5.5 percent of the vote in the Secretary of State election.

       81.     Mississippi statewide elections are not frequently determined by the House of

Representatives for the simple reasons that they are infrequently close. If small parties continue

to run candidates in statewide elections, and an especially popular black-preferred candidate ends

up in a competitive race with a white-preferred candidate, the latter has an enormous advantage if

the small-party candidates can win two or three percentage points and throw the election to the

House of Representatives.

IX.    CONCLUSIONS

       82.     In recent decades, voting in Mississippi has become quite polarized. County-level

data reveal that race was already correlated with voting in the early 2000s, but polarization has

grown over time, with a recent significant jump after 2008. In recent years, the correlation between

race and voting behavior in statewide elections has been extremely strong.



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       83.     African Americans and whites are distributed across the districts of Mississippi’s

House of Representatives such that each group is quite clustered in relatively homogeneous

districts. Given the pronounced racially polarized voting in Mississippi, this means, in practice,

that statewide candidates preferred by African Americans typically win in the 42 majority-black

districts, and candidates preferred by whites win in the remaining 80 districts with a majority-white

population.

       84.     Even when African-American-preferred candidates win statewide majorities by

obtaining support among a non-trivial minority of the white population, which sometimes happens,

the distribution of racial groups across districts is such that African-American-preferred candidates

will often be unable to win a majority of electoral votes. They must win around 55 percent of the

popular vote in order to win a majority of electoral votes. By contrast, white-preferred candidates

only need around 45 percent of the popular vote to do so. If a black-preferred candidate wins a

slim majority of the popular vote, he or she will come nowhere near receiving a majority of

electoral votes.

       85.     The Mississippi Constitution also calls upon the House of Representatives to

choose a winner in the event of a close election in which no candidate receives a majority of the

popular and electoral votes. Due to the distribution of racial groups across districts and the

associated structural advantage for white-preferred candidates (currently Republicans) in the

Mississippi House of Representatives, white-preferred candidates are extremely likely to be

appointed in cases where the House is called upon to choose the winner.

       86.     All of this means that the requirements for victory are quite different for candidates

preferred by whites than they are for candidates preferred by African Americans. A white-

preferred candidate needs merely to win a bare majority (50 percent plus one) of the statewide vote



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in order to have an excellent chance of taking office. In fact, a white-preferred candidate still has

a very good chance of taking office if he or she loses the popular vote in a tight election. In

contrast, for black-preferred candidates, a plurality is not nearly enough for victory. Nor is a small

popular majority. Even a comfortable statewide victory of two, three, and perhaps even four

percentage points is insufficient.

       87.     In all, Sections 140, 141, and 143 of the Mississippi Constitution confer a

substantial advantage on white-preferred candidates in statewide races.



                                                ###

I reserve the right to continue to supplement my declaration in light of additional facts, testimony
and/or materials that may come to light.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury of the laws of the United States
that the foregoing is true and correct according to the best of my knowledge, information and
belief.




Executed on: May 29, 2019                             ____________________________
                                                      JONATHAN RODDEN




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